                     Case 21-51158-CTG                       Doc 1-2          Filed 09/08/21              Page 1 of 1


                                        UNITED STATES BANKRUPTCY COURT
                                             DISTRICT OF DELAWARE

    In re                                                              Chapter 11

    Fred’s, Inc., et al.,1                                             Case No.: 19-11984 (CTG)

                                                       Debtors.        (Jointly Administered)
    FI Liquidating Trust,

                                                      Plaintiff,
    vs.

    Loyalty Lane, Inc.,                                                Adv. No. Refer to Summons
                                                Defendant(s).


                              NOTICE OF DISPUTE RESOLUTION ALTERNATIVES

        As party to litigation you have a right to adjudication of your matter by a judge of this Court.
Settlement of your case, however, can often produce a resolution more quickly than appearing before a
judge. Additionally, settlement can also reduce the expense, inconvenience, and uncertainty of litigation.

        There are dispute resolution structures, other than litigation, that can lead to resolving your case.
Alternative Dispute Resolution (ADR) is offered through a program established by this Court. The use of
these services are often productive and effective in settling disputes. The purpose of this Notice is to
furnish general information about ADR.

         The ADR structures used most often are mediation, early-neutral evaluation,
mediation/arbitration and arbitration. In each, the process is presided over by an impartial third party,
called the “neutral.”

         In mediation and early neutral evaluation, an experienced neutral has no power to impose a
settlement on you. It fosters an environment where offers can be discussed and exchanged. In the
process, together, you and your attorney will be involved in weighing settlement proposals and crafting a
settlement. The Court in its Local Rules requires all ADR processes, except threat of a potential criminal
action, to be confidential. You will not be prejudiced in the event a settlement is not achieved because the
presiding judge will not be advised of the content of any of your settlement discussions.

         Mediation/arbitration is a process where you submit to mediation and, if it is unsuccessful, agree
that the mediator will act as an arbitrator. At that point, the process is the same as arbitration. You,
through your counsel, will present evidence to a neutral, who issues a decision. If the matter in
controversy arises in the main bankruptcy case or arises from a subsidiary issue in an adversary
proceeding, the arbitration, though voluntary, may be binding. If a party requests de novo review of an
arbitration award, the judge will rehear the case.

      Your attorney can provide you with additional information about ADR and advise you as to
whether and when ADR might be helpful in your case.

Dated: September 7, 2021                                                                                /s/ Una O’Boyle
                                                                                                      Clerk of Court


           1 The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax identification number, are: Fred’s,
Inc. (4010); Fred’s Stores of Tennessee, Inc. (9888); National Equipment Management and Leasing, Inc. (4296); National Pharmaceutical Network,
Inc. (9687); Reeves-Sain Drug Store, Inc. (4510); Summit Properties-Jacksboro, LLC (9161); Summit Properties-Bridgeport, LLC (2200); and 505
N. Main Opp, LLC (5850). The Debtors’ current mailing address is c/o FI Liquidating Trust, 27 Crimson King Drive, Bear, DE 19701.

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